     Case 5:18-cr-00059-C Document 18 Filed 07/13/18                  Page 1 of 3 PageID 43


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION


UNITED STATES OF AMERICA,                         §
                                                  §
                                                  §
V.                                                §           NO. 5:18-CR-059-C
                                                  §
DERRICK ALAN THOMAS                               §


                       DISCOVERY MOTION - EXTRANEOUS ACTS

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES the Defendant in the above-styled and numbered cause, by and through

his attorney of record, and respectfully requests that the Court instruct the prosecuting attorneys

to divulge evidence of any prior convictions, alleged violations of the law not alleged in the

indictment, or extraneous acts allegedly done by the Defendant or other alleged co-conspirator in

this cause at a reasonable time prior to trial (at least two weeks) so as to permit counsel to

determine the following:

       1.      Whether the conviction was punishable by death or imprisonment in excess of one
               (l) year under the law which the conviction was rendered.

       2.      Whether the conviction, alleged violation or extraneous act has such prejudicial
               effect to the Defendant so that said prejudicial effect outweighs the probative
               value of said testimony.

       3.      Whether the conviction, alleged violation or extraneous act occurred at a time
               sufficiently recent to have some bearing on the present cause of action.

       4.      Whether the person now on trial or the person who allegedly committed said act is
               the same person now connected with this trial.




DISCOVERY MOTION - EXTRANEOUS ACTS                                                               P AGE 1
    Case 5:18-cr-00059-C Document 18 Filed 07/13/18                   Page 2 of 3 PageID 44


       5.      Whether said conviction, alleged violation or extraneous act is admissible,
               pursuant to the Federal Rules of Evidence. In particular, Defendant would direct
               the Court's attention to Federal Rules of Evidence 404(b).

       WHEREFORE, PREMISES CONSIDERED, it is respectfully requested that the Court
order the prosecuting attorneys to make said disclosures at a reasonable time prior to trial (at least
two weeks).

                                               Respectfully submitted,

                                               JASON D. HAWKINS
                                               Federal Public Defender
                                               Northern District of Texas



                                               /s/ Sarah Gunter
                                               Sarah Gunter
                                               Assistant Federal Public Defender
                                               Bar No. 24035471
                                               Federal Public Defender's Office
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                                               E-mail: sarah_gunter@fd.org

                                               Attorney for Defendant


                          CERTIFICATE OF CONFERENCE

       I certify that I conferred with Jeff R. Haag, the Assistant U.S. Attorney assigned to this

matter, regarding the filing of the foregoing and he does not oppose said motion to the extent the

motion requests discovery allowed under Rule 16 and Brady.


                                               /s/ Sarah Gunter
                                               Sarah Gunter
                                               Assistant Federal Public Defender

DISCOVERY MOTION - EXTRANEOUS ACTS                                                             P AGE 2
    Case 5:18-cr-00059-C Document 18 Filed 07/13/18                 Page 3 of 3 PageID 45


                                CERTIFICATE OF SERVICE

       I, Sarah Gunter, certify that on the 13th day of July, 2018, a copy of the foregoing was

filed through the Electronic Case Filing (“ECF”) System. Pursuant to Rule 9 of Miscellaneous

Order No. 61, this constitutes service of this document to the United States Attorney for the

Northern District of Texas, who is an ECF user.



                                             /s/ Sarah Gunter
                                             Sarah Gunter
                                             Assistant Federal Public Defender




DISCOVERY MOTION - EXTRANEOUS ACTS                                                              P AGE 3
